  Case 2:23-cr-01043-EP Document 1 Filed 12/06/23 Page 1 of 8 PageID: 1



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                          UNITED STATES DISTRICT COU RT
                             DISTRICT OF NEW JERSEY
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                                                                       CLERK.A:fS. DISTRICT COURT - DNJ

 UNITED STATES OF AMERICA                          Hon. Judge Evelyn Padin

      V.                                           Crim. No. 23-1043

 JORGE NOVA                                        18 U.S.C. § 1343



                                   IN D I C TMEN T

       The Grand Jury in and for the District of New Jersey, sitting at Newark,

charges as follows:

                                      COUNT ONE
                                      (Wire Fraud)

                                       Background

       1.        At various times relevant to this Indictment:

                 a.    Defendant Jorge Nova ("NOVA") was a resident of Passaic, New

Jersey.

                 b.    The United States Social Security Administration ("SSA") was an

agency of the executive branch of the United States. The SSA, among other things,

maintained Retirement Benefits under Title II of the Social Security Act, Title 42,

United States Code, Section 402 et. seq., for eligible individuals. When a person

worked and paid Social Security taxes, that person earned "credits" toward Social

Security benefits ("Retirement Benefits").        The number of credits required for

Retirement Benefits depended upon one's year of birth.           SSA did not pay any

Retirement Benefits until a person had the required number of credits.                Such

Retirement Benefits were not transferrable and could not be inherited.
   Case 2:23-cr-01043-EP Document 1 Filed 12/06/23 Page 2 of 8 PageID: 2




             c.     On or about March 15, 1993, an individu al entitled to Retirem ent

Benefits ("Beneficiary") filed for Retirem ent Benefits with the SSA.

             d.     One way that the SSA adminis ters Retirem ent Benefits is via

direct deposit to the recipien t's bank account at a commerc ial bank. Benefici ary

received his Retirem ent Benefits via direct deposit to his bank account ("Bank-1

Account") held at a commerc ial bank ("Bank-! '').

             e.     Benefici ary also held a bank account ("Bank-2 Account") at a

second commerc ial bank ("Bank-2").

             f.     Benefici ary was the only individu al authoriz ed to receive the

Retirem ent Benefits deposite d into Bank-1 and the only individu al authoriz ed to

access the Bank-1 Account.

             g.     On or about August 29, 2014, Benefici ary passed away. On or

about August 29, 2014, Benefici ary was a recipien t of Retirem ent Benefits in the

amount of $2,372.0 0 per month.

             h.     Because the SSA was never notified of Benefici ary's death in or

around August of 2014, the SSA continue d to make monthly Retirem ent Benefits

paymen ts to -the Bank-1 Account for approxim ately four years following Benefici ary's

death until on or about October 3, 2018. In total, the SSA deposite d approxim ately

$112,612.00 into the Bank-1 Account following Benefici ary's death.

              1.     From in or around July 2011 to on or about April 23, 2015, Nova

 was employe d by Bank-1 in Nutley, New Jersey.

              J.     At no time was NOVA authoriz ed to access funds in either the

 Bank-1 Account or the Bank-2 Account.
                                            2
  Case 2:23-cr-01043-EP Document 1 Filed 12/06/23 Page 3 of 8 PageID: 3




                              The Scheme to Defraud

      2.      From on or about January 18, 2015, through on or about October 9, 2018,

in Essex and Passaic Counties, in the District of New Jersey, and elsewhere , the

defendant ,

                                   JORGE NOVA,

did knowingly and intentiona lly devise, and intend to devise, a scheme and artifice

to defraud, and to obtain money and property by means of materially false and

fraudulen t pretenses, representa tions, and promises, as set forth below.

                          Goal of the Scheme to Defraud

       3.     The goal of the scheme was for NOVA to enrich himself by fraudulen tly

obtaining funds from Beneficiar y's bank accounts, Bank-1 Account and Bank-2

Account, that were intended exclusivel y for Beneficiar y's benefit.

                    Manner and Means of the Scheme to Defraud

       4.     It was part of the scheme to defraud that:

               a.     On or about January 18, 2015, NOVA gained access to the Bank-

1 Account and caused to be issued a debit card for that account ("Debit Card-1").

Thereafte r, on multiple occasions, NOVA accessed and withdrew funds from -the

Bank-1 Account using Debit Card-1. In total, between on or about January 20, 2015,

and on or about July 25, 2016, NOVA withdrew approxima tely $44,781.95, including

withdrawa l fees and balance inquiry fees, from the Bank-1 Account.

               b.     On or about August 3, 2016, NOVA caused to be issued a second

debit card for the Bank-1 Account ("Debit Card-2"). Thereafte r, on multiple occasions,

 NOVA accessed and withdrew funds from the Bank-1 Account using Debit Card-2.
                                            3
  Case 2:23-cr-01043-EP Document 1 Filed 12/06/23 Page 4 of 8 PageID: 4




             c.    In addition, on or about December 12, 2016, a credit agency issued

a credit report relating to Beneficiar y which was sent to NOVA. The credit report

that was provided to NOVA revealed the existence of Bank-2 Account.

              d.    Thereafte r, between on or about February 22, 2017, and on or

about March 29, 2017, NOVA transferre d approxima tely $1,650.00 from Bank-2

Account to Bank-1 Account, approxima tely $1,500.00 of which NOVA later withdrew

from Bank-1 Account using Debit Card-2. In addition, on or about March 2, 2017,

NOVA withdrew approxima tely $300 from Bank-2 Account which NOVA then

deposited to a bank account held in NOVA's name.

              e.    In total, between on or about August 4, 2016, and on or about

October 9, 2018, NOVA withdrew approxima tely $60,546.4 8, including withdraw al

fees and balance inquiry fees, from Bank-1 Account. On or about March 2, 2017,

NOVA also withdrew an additional approxim ate $300 from Bank-2 Account.

                              Executio n of the Scheme

      5.     On or about October 9, 2018, in the District of New Jersey and

elsewhere , the defendant ,

                                   JORGE NOVA,

knowingly and intentiona lly devised and intended to devise a scheme and artifice to

defraud and to obtain money and property by means of materially false and

fraudulen t pretenses, representa tions, and promises, and, for the purpose of

executing and attemptin g to execute such scheme and artifice, did knowingly

transmit and cause to be transmitte d by means of wire, radio, and television

communic ation in interstate and foreign commerce, the following writings, signs,
                                          4
  Case 2:23-cr-01043-EP Document 1 Filed 12/06/23 Page 5 of 8 PageID: 5




signals, pictures, and sounds, namely, an interstate wire transfer of approxima tely

$560.00 from Bank-1 Account from a location in New Jersey, which was transmitte d

using Bank-l's servers located in Wisconsin and Arizona.

            In violation of Title 18, United States Code, Section 1343.




                                          5
  Case 2:23-cr-01043-EP Document 1 Filed 12/06/23 Page 6 of 8 PageID: 6




                           FORFEITU RE ALLEGATION

      6.     Upon conviction of the offense charged in this Indictment, the defendant

NOVA, shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(l)(C) and 28

U.S.C. § 2461(c), all property, real or personal, the defendant obtained that

constitutes or is derived from proceeds traceable to the commission of such offense,

and all property traceable to such property, including, but not limited to, a sum of

money equal to $105,628.43, representing the proceeds of the offense charged in this

Indictment, and all property traceable to such property.

                          SUBSTITUT E ASSET PROVISION S

      7.     If any of the above-descri bed forfeitable property, as a result of any act

or omission of the defendant:

              a. cannot be located upon the exercise of due diligence;

              b. has been transferred or sold to, or deposited with, a third

                 party;

              c. has been placed beyond the jurisdiction of the Court;

              d. has been substantially diminished in value; or

              e. has been commingled with other property which cannot be

                 subdivided without difficulty,




                                           6
  Case 2:23-cr-01043-EP Document 1 Filed 12/06/23 Page 7 of 8 PageID: 7




it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated

by 28 U.S.C. § 2461(c), to seek forfeiture of any other property of the defendant up

to the value of the above forfeitable property.

                                                  A TRUE BILL




United States Attorney




                                            7
Case 2:23-cr-01043-EP Document 1 Filed 12/06/23 Page 8 of 8 PageID: 8
                  CASE NUMBER: 23-_1043  __  (EP)
                                               __

             · United States District Court
                 District of New Jersey
                UNITED STATES OF AMERIC A

                                  v.

                           JORGE NOVA

                    INDICT MENT FOR
                          18 u.s.c. § 1343

                             A True Bill,



                              Foreperson

                         PHILIP R. SELLINGER
                       UNITED STATES ATTORNEY
                    FOR THE DISTRICT OF NEW JERSEY

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